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                                                                                                   FILED
                               UNITED       STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                                                                                 AUG - 8 2018
                                         Norfolk Division

                                                                                        OLE.:^K, iJ ?   r         ccuRT

R.M.S.     TITANIC,          INC.,
s u c c e s s o r - i n - i n t e r e s t to Titanic
Ventures, limited partnership,

                            Plaintiff,
                                                                   CIVIL ACTION NO.             2:93cv902
V   .



THE WRECKED AND ABANDONED VESSEL,                        ITS
ENGINES, TACKLE, APPAREL,
APPURTENANCES, CARGO, ETC., LOCATED
WITHIN ONE (1) NAUTICAL MILE OF A
POINT LOCATED AT              41   43'   32"   NORTH
LATITUDE AND           49    56'   49" WEST
LONGITUDE,        BELIEVED TO BE THE R.M.S.
TITANIC,      IN REM,

                            Defendant.




                                                  ORDER


        On May      3,      2018,    a   status       hearing was          set     in this        case      for

August 10,        2018.            In the    past     few days,        a    number of additional

matters      have        arisen      that      need     to    be    addressed          at    the        status


hearing.          Accordingly,              the   court       removes        the       current          status

hearing       scheduled            for   August        10,     2018,       from     the      docket         and

DIRECTS          the        Calendar         Clerk       to        reset         the        hearing          on

August 21 or 22,               2018,        depending          upon        the     availability              of

counsel     on    those       dates.
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     The Clerk shall forward a copy of this Order to counsel for

the parties.

     IT IS SO ORDERED.

                                                   Isl
                                            lebecca Beach Smith
                                                Chief Judge
                                  REBECCA BEACH SMITH
                                  CHIEF JUDGE




August   9 -, 2018
